Case 3:19-cv-21248-BRM-LHG Document 43 Filed 06/15/20 Page 1 of 2 PageID: 635



                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY

 THE TRUSTEES OF PRINCETON                    :
 UNIVERSITY,                                  :       Civil Action No. 3:19-cv-21248-BRM-LHG
                                              :
                        Plaintiff,            :
                                              :
                 v.                           :       Hon. Lois H. Goodman
                                              :
 TOD WILLIAMS BILLIE TSIEN                    :
 ARCHITECTS, LLP; JACOBS                      :
 ARCHITECTS/ENGINEERS, INC.; and              :
 JACOBS CONSULTANCY INC.,                             CONSENT ORDER PERMITTING
                                              :       PLAINTIFF TRUSTEES OF PRINCETON
                                              :       UNIVERSITY TO FILE AMENDED
                        Defendants.
                                              :       COMPLAINT
 ____________________________                 :
                                              :
 TOD WILLIAMS BILLIE TSIEN                    :
 ARCHITECTS, LLP,                             :
                                              :
                Third-Party Plaintiff,        :
                                              :
                v.                            :
                                              :
 ARUP USA, INC. and F.J. SCIAME               :
 CONSTRUCTION COMPANY, INC.,                  :
                                              :
                 Third-Party Defendants.



        This matter having been brought before the Court by Sarah B. Biser, Esq. of Fox Rothschild

LLP, attorneys for Plaintiff the Trustees of Princeton University, for a Consent Order allowing

Plaintiff the Trustees of Princeton University to file an Amended Complaint:

        IT IS on this 15th day of June 2020 hereby:

        ORDERED that Plaintiff the Trustees of Princeton University may file an Amended

Complaint by June 15, 2020, in order to correct two numbering errors that Plaintiff identified at

paragraph 51 of the Complaint.


                                                  1
111206118.v1
Case 3:19-cv-21248-BRM-LHG Document 43 Filed 06/15/20 Page 2 of 2 PageID: 636
